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                              UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                     PORTLAND DIVISION

STEVEN HAYES, as personal representative                              Case No. 3:18-cv-00988-AC
of the estate of Quanice Hayes, deceased, and
VENUS HAYES,                                          OPINION AND ORDER ON MOTION TO
                                                                              STRIKE
                       Plaintiffs,
       V.

CITY OF PORTLAND, a municipal
corporation, and ANDREW HEARST,

                       Defendants.


ACOSTA, Magistrate Judge:

       Presently before the court is Plaintiffs Steven Hayes and Venus Hayes's (collectively

"Plaintiffs") Rule 12 Motion to Strike Defendants' Affirmative Defenses and Memorandum in

Support ("Motion to Strike") pursuant to Federal Rule of Civil Procedure 12(f) ("Rule 12(f)").

(Mot. to Strike, ECF No. 76.) Plaintiffs seek to strike certain affirmative defenses raised in

Defendants City of Portland ("the City") and Andrew Hearst ("Hearst") (collectively

"Defendants") Amended Answer and Affirmative Defenses to Plaintiffs' First Amended

Complaint ("Amended Answer") (Am. Answer, ECF No. 75) as immaterial, redundant, legally

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insufficient, impertinent, scandalous, and irrelevant to any issue in the case. For the reasons that

follow, Plaintiffs' Motion to Strike is granted in part and denied in part.

                                             Background

        On February 9, 2017, Quanice Hayes ("Plaintiff') was shot and killed by Portland Police

Officer Defendant Hearst. (First Am. Compl., ECF No. 48, at ,r 17.) Hearst shot Plaintiff twice

in the torso and once in the forehead. (Id.) Quanice Hayes was unarmed and died at the scene.

(Id. at ,r,r 17, 20, 21.) Plaintiffs allege that Hearst used excessive force and that Portland Police

Bureau's ("PPB") review of the shooting wrongly found that all aspects of the shooting were "in

policy." (Id.)

        As relevant to this motion, Plaintiffs bring a Fourth Amendment claim for excessive force

against Hearst and two Monell claims under§ 1983 against the City. (Id. at ,r,r 24-36.) Plaintiffs

also bring a state law wrongful death claim against the City and battery action against Hearst.

(Id. at ,r,r 37-47.) In their excessive force claim against Hearst individually, Plaintiffs allege that

Hearst's use of force was objectively umeasonable under the circumstances, constituted

excessive force, and was an unreasonable and unjustified use of deadly force. (Id. at ,r 24.) In

the first Monell claim, Plaintiffs allege the City of Portland has a policy, custom, and practice of

utilizing a team apprehension approach when encountering suspects believed to be armed ("high

risk arrests"). (Id. at ,r 25.) Plaintiffs allege that the City's practice fails to create a "command

control" during high-risk arrests, leads to chaotic situations, and places suspects at extreme risk

of being shot and killed during apprehension. (Id. at ,r,r 25-28.) Plaintiffs allege the City's

practice was a proximate cause of Quanice Hayes' s death. (Id at ,r 28.)

        In the second Monell claim, Plaintiffs allege that the City maintains an unconstitutional


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training policy, premised on the principle of "action-reaction." (Id. at ,r 29.) Plaintiffs allege that

the City has failed to properly train its PPB officers with respect to the action-reaction principle,

a psychological concept related to police use of force. (Id. at ,r,r 30-31.) Plaintiffs contend that

the failure to properly train police officers was a proximate cause of Quanice Hayes's death. (Id.

at ,r 32.)

         Under Oregon law, Plaintiffs allege negligence against the City and battery against

Hearst. In their negligence claim, Plaintiffs allege that the City's failure to require officers to use

apprehension policies that give clear, uncontradicted instructions creates a foreseeable risk of

harm to individuals they choose to arrest. (Id. at ,r 39.) Plaintiffs further allege the City of

Portland's failure to enforce policies and develop and execute plans to safely take suspects into

custody that minimize the risk of harm to officers and arrestees is unreasonable. (Id. at ,r 40.)

Plaintiffs contend the City's failure to effectively train its police officers and ensure that training

is followed creates a risk of death, and these failures caused the death of Quanice Hayes. (Id. at

,r,r 42--43.)   Plaintiffs further allege that Hearst's failure to listen and recognize that officers were

giving contradictory commands and the officers' failure to develop and execute a plan to

minimize the risk to the suspect and officers to take the suspect into custody was a cause of

Quanice Hayes's death and created an unreasonable, obvious risk of death. (Id. at ,r,r 44--47.) In

their battery claim, Plaintiffs allege Hearst's use of force against Quanice Hayes was intentional

and excessive under the circumstances. (Id. at ,r,r 37-38.)

         In response, in the Amended Answer, Defendants raise sixteen affirmative defenses as

follows:

         1.      Failure to State a Claim
         2.      Qualified Immunity

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        3.    Objective Reasonableness
        4.    Probable Cause
        5.    Justification - Common Law
        6.    Justification - Oregon Statute
        7.    Privilege
        8.    Good Faith
        9.    Self-Defense
        10.   Defense of Others
        11.   Comparative Fault (under ORS 31.600-Decedent Quanice Hayes)
        12.   Certain Felonious Conduct as Bar to Civil Action (under ORS 31.180)
        13.   Comparative Fault (under ORS 31.600-Beneficiary Venus Hayes)
        14.   Oregon Tort Claims Act
        15.   No Duplicative Damages
        16.   Right to Assert Additional Affirmative Defenses

(Am. Answer at 16-22). In the current motion, Plaintiffs move to strike Defendants' third,

fourth, fifth, sixth, seventh, eighth, ninth, tenth, eleventh, twelfth, thirteenth, and sixteenth

affirmative defenses. (Mot. to Strike at 1-2.) Plaintiffs move to strike these affirmative defenses

as immaterial, redundant, legally insufficient, immaterial, impertinent, or scandalous. (Mot. to

Strike at 5-20.) Further, Plaintiffs argue Defendants improperly use facts unknown to Hearst at

the time of the events to justify Hearst's actions and to "smear" Quanice Hayes and confuse the

issues. (Mot. to Strike at 3.)

       In Defendants' Response to Plaintiffs' Rule 12 Motion to Strike ("Defendants'

Response"), Defendants concede the third affirmative defense is a negative defense but

nonetheless urge the court not to strike it. (Defs.' Resp., ECF No. 80, at 8.) Defendants further

concede the sixteenth affirmative defense is not an affirmative defense but a "notice of

reservation to Plaintiffs" that this court may properly strike. (Defs.' Resp. at 21.) Defendants

also clarify the fifth, sixth, and eighth affirmative defenses apply only to Plaintiffs' state law

claims, and the eleventh affirmative defense applies only to Plaintiffs' negligence claim against



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the City. (Defs.' Resp. at 9, 12, 14.) Otherwise, Defendants maintain they may assert the

remaining affirmative defenses. 1

       Moreover, Defendants argue the collective knowledge doctrine should permit them to

assert facts unknown to Hearst at the time of the events in support of their second affirmative

defense of qualified immunity on the issue of probable cause, their eleventh and thirteenth

affirmative defenses of comparative fault, and their twelfth affirmative defense of certain

felonious conduct. (Defs.' Resp. at 6-7, 14-21.)

                                         Legal Standards

I.     Rule 12(±)

       Pursuant to Rule 12(f), the court "may strike from a pleading an insufficient defense or

any redundant, immaterial, impertinent, or scandalous matter." FED. R. Civ. P. 12(f);

Whittlestone, Inc. v. Handi-Craft Co., 618 F.3d 970, 973 (9th Cir. 2010). "An affirmative

defense may be insufficient as a matter of pleading or as a matter of law." Kohler v. Staples the

Office Superstore. LLC, 291 F.R.D. 464,467 (S.D. Cal. 2013) (citing Sec. People, Inc. v. Classic

Woodworking, LLC, No. C-04-3133 MMC, 2005 WL 645592, at *2 (N.D. Cal. Mar. 4, 2005)).

An affirmative defense is pleaded insufficiently when it "fails to comply with Rule 8 pleading

requirements by not providing 'plaintiff [with] fair notice of the nature of the defense' and the

grounds upon which it rests." Hayden v. US., 147 F. Supp. 3d 1125, 1127 (D. Or. 2015)

(quoting Wyshak v. City Nat 'l Bank, 607 F.2d 824, 827 (9th Cir. 1979)). Where a motion

challenges the factual sufficiency of the pleaded defenses, the court may properly apply the



1
 On March 5, 2020, Defendants filed a notice (ECF No. 101) of withdrawal of their Thirteenth
Affirmative Defense. See infra page 36.

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Twombly/Iqbal standard. Hayden, 147 F. Supp. 3d at 1128 (discussing Bell Atlantic Corp. v.

Twombly, 550 U.S. 544 (2007) andAshcroftv. Iqbal, 556 U.S. 662 (2009)). "[A]n affirmative

defense is legally insufficient only if it clearly lacks merit 'under any set of facts the defendant

might allege."' Kohler, 291 F.R.D. at 468 (quoting }.;JcArdle v. AT&T Nlobility, LLC, 657 F.

Supp. 2d 1140, 1149-50 (N.D. Cal. 2009), rev 'don other grounds, 474 Fed. Appx. 515 (2012)).

       A matter is redundant if it is superfluous and can be omitted without a loss of meaning.

See Wilkerson v. Butler, 229 F.R.D. 166, 170 (E.D. Cal. 2005) (noting that a redundant matter is

one that constitutes "needless repetition"); Orff v. City of Imperial, No. 17-CV-0 116W (AGS),

2017 WL 2537250, at *3 (S.D. Cal. June 12, 2017) ("Redundant matter is the needless repetition

of assertions."). A matter is immaterial if it "has no essential or important relationship to the

claim for relief or the defenses being plead." Whittlestone, 618 F.3d at 974 (quoting Fantasy,

Inc. v. Fogerty, 984 F.2d 1524, 1527 (9th Cir. 1993), rev'd on other grounds, 510 U.S. 517

(1994)). A matter is impertinent if it "consists of statements that do not pertain, and are not

necessary, to the issues in question." Id (quoting Fantasy, 984 F.2d at 1527). "Scandalous

matters are allegations that unnecessarily reflect ... on the moral character of an individual or

state ... anything in repulsive language that detracts from the dignity of the court[.]" Consumer

Sols. REG., LLC v. Hillery, 658 F. Supp. 2d 1002, 1020 (N.D. Cal. 2009) (internal quotation

marks, alterations, and citation omitted).

       An affirmative defense will defeat the plaintiff's claim "even where the plaintiff has

stated a prima facie case for recovery under the applicable law." Quintana v. Baca, 233 F.R.D.

562, 564 (C.D. Cal. 2005). "Not all contentions that attack a plaintiff's cause of action are

affirmative defenses." Id. "An attack on [a] plaintiff's case-in-chief is not an affirmative


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defense; it is a negative defense." TSXToys, Inc. v. 665, Inc., No. ED CV 14-02400-RGK.

(DTBx), 2015 WL 12746211, at *8 (C.D. Cal. Sept. 23, 2015) (citing Zivkovic v. S. Cal. Edison

Co., 302 F.3d 1080, 1088 (9th Cir. 2002)). Put differently, a negative defense merely negates an

element the plaintiff is required to prove. Zivkovic, 302 F.3d at 1088. Negative defenses are

immaterial and as such are subject to a Rule 12(f) motion to strike. TSX Toys, Inc., 2015 WL

12746211, at *8 (citing Barnes v. AT&T Pension Ben. Plan-Nonbargained Program, 718 F.

Supp. 2d 1167, 1174 (N.D. Cal. 2010)).

       "The function of a 12(f) motion to strike is to avoid the expenditure of time and money

that must arise from litigating spurious issues by dispensing with those issues prior to trial."

Fantasy, 984 F.2d at 1527 (internal quotation marks, citation, and first alteration omitted). "A

motion to strike under Rule 12(f) should be denied unless it can be shown that no evidence in

support of the allegation would be admissible, or those issues could have no possible bearing on

the issues in the litigation." Gay-Straight Alliance Network v. Visalia Unified Sch. Dist., 262 F.

Supp. 2d 1088, 1099 (E.D. Cal. 2001). "However, a motion to strike 'may be proper if it will

make the trial less complicated or if allegations being challenged are so unrelated to plaintiff's

claims as to be unworthy of any consideration as a defense and that their presence in the pleading

will be prejudicial to the moving party."' City of Portland v. Iheanacho., Case No. 3:17-CV-

00401-AC, 2018 WL 1426564, at *3 (D. Or. Mar. 22, 2018) (quoting Thornton v. Solutionone

Cleaning Concepts, Inc., No. CIV F 06-1455 AWI SMS, 2007 WL 210586, at *1 (E.D. Cal. Jan.

26, 2007)).

       When ruling on a motion to strike, the court must accept the nonmoving party's

allegations as true and liberally construe the complaint in the light most favorable to the


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nonmoving party. See Stearns v. Select Comfort Retail Corp., 763 F. Supp. 2d 1128, 1140 (N.D.

Cal. 2010). Whether to grant a motion to strike is within the sound discretion of the district

court. Davidson v. Kimberly-Clark Co1p., 889 F.3d 956, 963 (9th Cir. 2018).

II.    Federal Claims

        Plaintiffs bring a claim for excessive force in violation of the Fourth Amendment under

42 U.S.C. § 1983 against Hearst as an individual and against the City. To establish municipal

liability under§ 1983, Plaintiffs must identify a municipal custom or policy that caused their

injury. Hunter v. Cty. ofSacramento. 652 F.3d 1225, 1232-33 (9th Cir. 2011). Here, Plaintiffs

must demonstrate that the City's alleged lack of control during high risk arrests was so

"widespread and permanent" to be the City's "standard operating procedure" that has "become a

traditional method of carrying out policy." Trevino v. Gates., 99 F.3d 911, 918 (9th Cir. 1996).

        To establish a§ 1983 claim concerning the failure to train, Plaintiffs will need to show

that the City acted with deliberate indifference to a substantial risk that its training on the action-

reaction principle was inadequate to prevent violations of constitutional rights. City of Canton v.

Harris, 489 U.S. 378, 388 (1989). The Ninth Circuit has recognized that a custom or practice

can be inferred from "'evidence of repeated constitutional violations for which the errant

municipal officers were not discharged or reprimanded."' Velazquez v. City of Long Beach, 793

F.3d 1010, 1027 (9th Cir. 2015) (quoting Hunter, 652 F.3d at 1133).

        To prove excessive force in violation of the Fourth Amendment, Plaintiffs must

demonstrate the shooting was objectively unreasonable. See Graham v. Connor, 490 U.S. 386,

397 (1989). Determining reasonableness requires balancing "the nature and quality of the

intrusion on the individual's Fourth Amendment interests against the important of the


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governmental interests alleged to justify the intrusion." Id. at 7-8 (internal quotation marks

omitted); see also Orn v. City of Tacoma, 949 F.3d 1167, 1174 (9th Cir. 2020) (quoting

Tennessee v. Garner, 471 U.S. 1, 8 (1985)). The reasonableness inquiry involves an assessment

of factors such as the nature and severity of the crime at issue, whether the suspect poses an

immediate threat to the safety of the officers or others, and whether the suspect is actively

resisting or attempting to evade arrest by flight. Zion v. County of Orange, 874 F.3d 1072, 1075

(9th Cir. 2017) (quoting Graham, 490 U.S. at 396). If deadly force is used, the officer must have

probable cause to believe the suspect poses a significant threat of death or serious physical

injury. Garner, 471 U.S. at 3. If a suspect no longer poses an immediate threat, then the

subsequent use of deadly force is umeasonable. z;on, 874 F.3d at 1076. "The 'reasonableness'

of a particular use of force must be judged from the perspective of a reasonable officer on the

scene, rather than with the 20/20 vision of hindsight." Graham, 490 U.S. at 396 (citation

omitted). Although the facts known to the officer at the time force was applied are relevant to

the reasonableness inquiry, the officer's subjective intent or motive is not relevant. NINTH CIR.

JURY INSTRUCTIONS COMM., MANUAL OF MODEL CIVIL JURY INSTRUCTIONS FOR THE DISTRICT

COURTS OF THE NINTH CIRCUIT 9.25 (2019).

III.   State Law Claims

       Plaintiffs bring a state law claim for wrongful death under O.R.S. § 30.020. OR. REV.

STAT. § 30.020 (2019). Here, Plaintiffs allege battery against Hearst and negligence against the

City. To prove the intentional tort of battery in Oregon, Plaintiffs will need to show that "the

conduct which brings about the harm" is "an act of volition on the actor's part, and the actor

must have intended to bring about a harmful or offensive contact or put the other party in


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apprehension thereof." Doe Iv. Lake Oswego School Dist., 353 Or. 321,329 (2013) (quoting

Bakker v. Baza 'r, Inc., 275 Or. 245, 249 (1976) (internal quotation marks omitted). To prove

negligence against the City, Plaintiffs will need to prove that the City's conduct created a

"foreseeable and unreasonable risk of legally cognizable harm to the plaintiff and that the

conduct in fact caused that kind of harm to the plaintiff." Chapman v. lvlayfield, 358 Or. 196,

205 (2015) (en bane).

                                            Discussion

       Each affirmative defense at issue is addressed in tum below, beginning with a discussion

of the applicability of the collective knowledge doctrine.

I.     Collective Knowledge Doctrine

       The parties dispute what facts Defendants may allege to support their affirmative defenses.

(Mot. to Strike at 3, Defs.' Resp. at 11-12.) Most notably, Defendants urge this court to depart

from a traditional Fourth Amendment analysis, which Defendants acknowledge is limited to facts

known to the officer using force, and instead apply the "collective knowledge" doctrine. (Defs.'

Resp. at 11.) The collective knowledge doctrine is not the standard for excessive force claims and

lacks support in the Ninth Circuit and the District of Oregon.

       "Under the collective knowledge doctrine, [the court] must determine whether an

investigatory stop, search, or an-est complied with the Fourth Amendment by 'look[ing] to the

collective knowledge of all the officers involved in the criminal investigation although all of the

information known to the law enforcement officers involved in the investigation is not

communicated to the officer who actually [undertakes the challenged action]." US. v. Ramirez,

473 F.3d 1026, 1032 (9th Cir. 2007) (quoting US. v. Sutton, 794 F.2d 1415, 1426 (9th Cir. 1986)).


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          The collective knowledge doctrine is proper in some Fourth Amendment cases, but not to

claims of excessive force. Courts may apply the collective knowledge doctrine to determine

whether probable cause existed under the Fourth Amendment for an investigatory stop, search, or

arrest.   Ramirez, 473 F.3d at 1031-32.       For example, in Ramirez, a police officer made a

wan·antless traffic stop based on facts communicated to him by radio. Id. at 1030. "The appellants

challenged the validity of the traffic stop and argued [the officer] lacked personal knowledge of

the facts purportedly giving rise to probable cause for an automobile search." Id. The court

determined "where an officer (or team of officers), with direct personal knowledge of all the facts

necessary to give rise to reasonable suspicion or probable cause, directs or requests that another

officer, not previously involved in the investigation, conduct a stop, search or arrest," the collective

knowledge doctrine applies. Id. at 1033 (emphasis in original).

          Excessive force is analyzed differently; the court uses a reasonableness standard: "an

officer's use of force must be objectively reasonable based on his contemporaneous knowledge of

the facts." Deorle v. Ruthe1ford, 272 F.3d 1272, 1281 (9th Cir. 2001); see also Saucier v. Katz,

533 U.S. 194,207 (2001) ("Excessive force claims, like most other Fourth Amendment issues, are

evaluated for objective reasonableness based upon the information the officers had when the

conduct occurred.") That is, "[t]he 'reasonableness' of a particular use of force must be judged

from the perspective of a reasonable officer on the scene, rather than with the 20/20 vision of

hindsight." Graham, 490 U.S. at 396 (citation omitted). Facts unknown to the officer using force

at the time force is applied therefore are irrelevant to the reasonableness inquiry. See Orn, 949

F.3d at 1177. For example, in Orn, an officer asserted qualified immunity as a defense to an

excessive force claim and argued his use of force was reasonable, in part because the officer


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believed the suspect posed a threat of serious physical harm to another officer. Id. at 1167, 1176.

The officer also alleged a view of the facts that "hint[ed]" at a threat of serious physical harm to

the general public, such as the suspect forcing an officer to veer into oncoming traffic. Id. at 1177.

However, the court found the incident -       even if it occurred -    was irrelevant to the Fourth

Amendment analysis because the officer "did not witness it and a reasonable jury could conclude

that he did not learn about it until after the shooting." Id. Thus, the reasonableness inquiry in

excessive force cases does not take into account collective knowledge; rather, the focus is squarely

on the knowledge of the officer applying force.

       Case law in this district and the Ninth Circuit confirms that the collective knowledge

doctrine is not applied in excessive force cases. First, no cases apply the collective knowledge

doctrine to excessive force claims. Second, the Ninth Circuit in Orn recently had the opportunity

to consider facts unknown to the officer applying force at the time force was applied, but as

explained above, the court declined to consider as relevant to the excessive force determination

facts other than those known to the officer at the time of the events. Orn, 949 F.3d at 1177. The

clear rule in the Ninth Circuit is "an officer's use of force must be objectively reasonable based on

his contemporaneous knowledge of the facts." Deorle, 272 F.3d at 1281.

       Further, cases that apply the collective knowledge doctrine apply it to the issues of probable

cause and reasonable suspicion in only two situations. First, where law enforcement agents are

working together in an investigation and there has been some communication among officers, even

where information giving rise to reasonable suspicion or probable cause is not actually given to

the detaining officer, and the officers have not explicitly communicated the facts each has

independently learned. Second, "where an officer (or team of officers), with direct personal


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knowledge of all the facts necessary to give rise to reasonable suspicion or probable cause, directs

or requests that another officer, not previously involved in the investigation, conduct a stop, search

or arrest." Ramirez, 473 F.3d at 1033 (emphasis in original). Where both probable cause to arrest

and excessive force are at issue in the same case, courts have limited application of the collective

knowledge doctrine to wrongful stop, search, and arrest claims. In J\lfateo v. City ofPortland, No.

3:13-CV-00180-KI, 2014 WL 4384595 (D. Or. Sept. 3, 2014), wrongful arrest and excessive force

were both at issue; the court stated the collective knowledge doctrine could be properly applied to

the wrongful arrest claim, id. at *5, but a reasonableness standard applied to the excessive force

claim, id. at *3-4.

        Moreover, though both claims are brought under the Fourth Amendment, the probable

cause analysis differs between wrongful stop, search, and arrest cases and excessive force cases.

In the first instance -   in cases like Ramirez where applying the collective knowledge doctrine is

proper -   the question is whether the officer had probable cause to stop, search, or arrest. In

excessive force cases, on the other hand, the relevant question is whether "the officer has probable

cause to believe that the suspect poses a threat of serious physical harm, either to the officer or to

others." Orn, 949 F.3d at 1174 (quoting Garner, 471 U.S. at 11). "A suspect may pose such a

threat if 'there is probable cause to believe that he has committed a crime involving the infliction

or threatened infliction of serious physical harm,' or if the suspect threatens the officer or others

with a weapon capable of inflicting such harm." Id. (quoting Garner, 4 71 U.S. at 11 ). The Ninth

Circuit Civil Jury Instructions reflect this definition of probable cause in excessive force cases and

include among the reasonableness factors "whether there was probable cause for a reasonable

officer to believe that the suspect had committed a crime involving the infliction or threatened


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infliction of serious physical harm." NINTH CIR. JURY INSTRUCTIONS COMM., MANUAL OF MODEL

CIVIL JURY INSTRUCTIONS FOR THE DISTRICT COURTS OF THE NINTH CIRCUIT 9.25 (2019).

       In sum, the standard for excessive force claims is objective reasonableness. Objective

reasonableness is determined based on the officer's knowledge at the time force is applied- not

in hindsight, and not in conjunction with the uncommunicated knowledge of others. This rule is

firmly rooted in the case law in this district and the Ninth Circuit. Therefore, Defendants may not

rely on the collective knowledge doctrine to allege facts unknown to Officer Hearst in support of

Defendants' affirmative defenses relating to Plaintiffs' Fourth Amendment claims.

II.    Objective Reasonableness (Third Affirmative Defense)

       Plaintiffs argue Defendants' objective reasonableness defense is a negative defense, not an

affirmative defense. (Mot. to Strike at 5.) Plaintiffs contend that objective reasonableness is an

element of Plaintiffs' § 1983 claim, and whether Hearst's shooting was "excessive" is an element

of Plaintiffs' state law battery claim, and thus this defense attacks Plaintiffs' case-in-chief. (Mot.

to Strike at 5.) Defendants concede in their response this is a negative defense with respect to

Plaintiffs' federal claims, but nevertheless urge this court not to strike this defense because it not

"redundant, immaterial, impertinent or scandalous." (Defs.' Resp. at 5.) (internal quotation marks

omitted).

       A negative defense is one that attacks Plaintiffs' prima facie case, and the parties are correct

that this is a negative defense with respect to the excessive force claim. To prove Hearst used

excessive force, Plaintiffs must show Hearst's use of force was objectively unreasonable based on

his contemporaneous knowledge of the facts. See Deorle, 272 F.3d at 1281. Therefore, a defense

of objective reasonableness simply attacks Plaintiffs' prima facia case and is a negative defense.


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Negative defenses are immaterial under Rule 12(±). Defendants offer no support for their argument

that this defense is not redundant, immaterial, impertinent, or scandalous.

       Accordingly, Plaintiffs' Motion to Strike the Third Affirmative Defense is GRANTED.

III.   Probable Cause (Fourth Affirmative Defense)

       Plaintiffs argue that Defendants' fourth affirmative defense of probable cause is

immaterial, impertinent, and redundant, (Mot. to Strike at 6), and that it is a negative defense (Pls.'

Reply at 3). First, Plaintiffs argue this defense is immaterial and impertinent because whether

Hearst or the police had probable cause to stop, arrest, or seize Quanice Hayes is not at issue in

this case. (Mot. to Strike at 6.) Rather, Plaintiffs argue, the issue is whether Hearst used excessive

force in shooting him. (Mot. to Strike at 6.) Second, Plaintiffs argue this defense is redundant of

Defendants' second affirmative defense of qualified immunity, where Defendants allege Hearst

should not be liable because he acted in good faith. (Mot. to Strike at 6.) Third, Plaintiffs argue

that probable cause is a negative defense because the burden is on the Plaintiffs to show no

probable cause existed to shoot Quanice Hayes. Defendants argue that probable cause is relevant

to an excessive force determination under Tennessee v. Garner, 471 U.S. 1, 11 (1985). (Defs.'

Resp. at 9.)

       A matter is immaterial if it "has no essential or important relationship to the claim for relief

or the defenses being plead." Whittlestone, 618 F.3d at 974 (quoting Fantasy, 984 F.2d at 1527).

A matter is impertinent if it "consists of statements that do not pertain, and are not necessary, to

the issues in question." Id. (quoting Fantasy, 984 F.2d at 1527). A matter is redundant if it is

superfluous and can be omitted without a loss of meaning. See Wilkerson, 229 F.R.D. at 170




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(noting that a redundant matter is one that constitutes "needless repetition"); Orff, 2017 WL

2537250, at *3 ("Redundant matter is the needless repetition of assertions.").

          This probable cause affirmative defense is immaterial and redundant. Probable cause is

immaterial as a defense because it is a negative defense. Whether Hearst had probable cause to

shoot Quanice Hayes is a factor in the objective reasonableness analysis in Plaintiffs' prima facia

case. As stated above, Defendants' objective reasonableness defense is immaterial because it is a

negative defense. Probable cause is a factor in that negative defense and thus fails for the same

reason.

          Further, probable cause is redundant of the qualified immunity defense. The qualified

immunity analysis has two prongs: (1) whether the facts plaintiff alleges make out a violation of

constitutional rights; and (2) whether that right was clearly established at the time the defendant

acted. Orn, 949 F.3d at 1174. For the first prong, to determine whether Hearst used excessive

force in violation of Quanice Hayes's Fourth Amendment right under the objective reasonableness

analysis, the court must consider whether Hearst had probable cause to shoot him. See id.

Therefore, probable cause is redundant because it is superfluous: it needlessly repeats a factor in

Defendants' qualified immunity defense.

          Ultimately, Defendants will seek to prove Hearst had probable cause to shoot Quanice

Hayes either to support their qualified immunity affirmative defense or to attack Plaintiffs' Fourth

Amendment claim. 2 As an affirmative defense here, however, probable cause is needlessly

repetitious and immaterial.

          Therefore, Plaintiffs' Motion to Strike the Fourth Affirmative Defense is GRANTED.


2
    This opinion is not a ruling on evidence related to such arguments.

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IV.    Justification-Common Law (Fifth Affirmative Defense), Justification-Oregon Statute
       (Sixth Affirmative Defense), Privilege (Seventh Affirmative Defense), Good Faith (Eighth
       Affirmative Defense), Self-Defense (Ninth Affirmative Defense), and Defense of Others
       (Tenth Affirmative Defense)

       Plaintiffs argue this court should strike Defendants' fifth, sixth, seventh, eighth, ninth, and

tenth affirmative defenses as redundant of other affirmative defenses. A matter is redundant if it

is superfluous and can be omitted without a loss of meaning. See WUkerson, 229 F.R.D. at 170

(noting that a redundant matter is one that constitutes "needless repetition"); Orff, 2017 WL

2537250, at *3 ("Redundant matter is the needless repetition of assertions.").

       A. Justification (Fifth and Sixth Affirmative Defenses)

       Defendants assert under Oregon common law and statute that any of use of control or force

by Hearst or other officers was justified, as those actions were necessary to carry out their duties

as law enforcement officers. (Am. Answer at 17.)           Defendants now direct their justification

defenses only at Plaintiffs' state law claims. (Defs.' Resp. at 14.) Plaintiffs argue both justification

defenses are redundant of Defendants' ninth (self-defense) and tenth (defense of others)

affirmative defenses. (Pls.' Reply at 3.)

        1. Justification -   Common Law (Fifth Affirmative Defense)

       Defendants argue that under Humbird v. JvfcClendon, 281 Or. 83, 85-86 (1978),

justification is a common law affirmative defense to a state law battery claim. (Defs.' Resp .at

14.) Plaintiffs disagree and argue that Humbird can be· distinguished from the present case

because, unlike here, in Humbird, the defendants sought to file an amended answer and affirmative

defense that would completely change the theory of their case. (Pls.' Reply at 4.)

       In Humbird, the plaintiffs brought an action for assault and battery and a unanimous jury

awarded them damages. Humbird, 281 Or. at 85. The defendants appealed, arguing the trial court

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erred when it refused to give certain jury instructions and refused to permit the defendants to file

an amended answer and affirmative defense. Id The court found as proper the trial court's refusal

to give the requested jury instructions, because the requested jury instructions "related to the

affirmative defense of justification and self-defense, while defendants' pleadings consisted of a

general denial." Id at 85-86. The court found the trial court's denial of the defendants' motion

to file an amended answer and affirmative defense proper as well because it was not an abuse of

the trial court's discretion to deny amendment where the amendment "totally changed the

defendants' theory of the case and counsel offered no reasonable justification for the delay in filing

a proper pleading." Id. at 86-87.

       The Humbird case is the only Oregon case that instructs on this issue, and it does not

sufficiently instruct as to whether a common law justification defense will lie in Oregon against a

state law battery claim. It is unclear whether the defendants intended to plead a common law or

statutory justification defense in Humbird.     To grant Plaintiffs' motion, this court would be

required to make several assumptions of how the Oregon Supreme Court would interpret Humbird

as applied to the facts here, which exercise would cause this court to extend beyond its role of

applying Oregon law into the prohibited zone of making Oregon law.

       Therefore, Plaintiffs' Motion to Strike the Fifth Affirmative Defense is DENIED.

       2. Justification -   Oregon Statute (Sixth Affirmative Defense)

       Defendants argue that "any use of control or force by Officer Hearst or any of the City's

other police officers was justified, as those actions were necessary to carry out their duties as law

enforcements officers, and those actions were authorized by ORS 161.205(5), ORS 161.209 and




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ORS 161.219(3)." (Am. Answer at 17.) Plaintiffs argue those Oregon statutes apply only to

criminal liability, not civil liability. (Mot. to Strike at 8-9.)

        ORS § 161.205(5) provides that the use of force is justifiable and not criminal in certain

circumstances. OR. REV. STAT. § 161.205(5) (2019). Such circumstances include "self-defense

or in defending a third person, in defending property, [and] in making an arrest or in preventing an

escape ... " OR. REV. STAT. § 161.205(5). Further, ORS § 161.209 provides that "a person is

justified in using physical force upon another person for self-defense or to defend a third person

from what the person reasonably believes to be the use or imminent use of unlawful physical force,

and the person may use a degree of force which the person reasonably believes to be necessary for

the purpose." OR. REV. STAT.§ 161.209 (2019). However, ORS§ 161.219(3) states that "a person

is not justified in using deadly physical force upon another person unless the person reasonably

believes that the other person is ... using or about to use unlawful deadly physical force against a

person." OR. REV. STAT.§ 161.219(3) (2019).

        Where a statute on its face is limited to avoiding criminal prosecution, under Oregon law,

that statute does not generally apply to civil liability claims. In Gigler, the question presented on

appeal was whether there was justification for removing the plaintiff from a city council meeting.

Gigler v. City of Klamath Falls, 21 Or. App. 753, 754 (1975). The court found "that the physical

violence exerted by the officers against plaintiff was no more than necessary to accomplish the

legitimate purpose of fulfilling their duty." Id. at 763. Accordingly, the court cited ORS §§

161.23 5, 161.245, and 162.315, and held that the use of force was justified as a matter of law. Id.

        The court based its holding in Hatfield on the same principles. At issue in Hatfield was a

jury instruction which stated that "defendant was privileged to use physical force upon another


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person in defending himself, or a third person, in defending property, and in making an arrest or

in preventing an escape." Hatfield v. Gracen, 279 Or. 303, 307 (1977) (internal quotation marks

omitted). The court noted that the instruction was taken from ORS § 161.205(5), which "deals

only with criminal liability, and ... is not directly applicable to cases involving civil tort liability."

Id. The court further stated that "[a]s a general rule, the existence of a statutory defense to a

criminal prosecution does not necessarily mean that civil liability can be avoided as well .... " Id.

        In Evans, the court looked to Hatfield and Gigler to determine whether ORS § 161.205

applies in the civil context. Evans v. Jvlultnomah Cty., No. 07-CV-1532-BR, 2009 WL 1011580,

at *9-10 (D. Or. Apr. 15, 2009). The court stated that Hatfield "did not explicitly rule on whether

§ 161.205 is ever applicable to a civil matter." Id. at *9. However, the court distinguishedHaifzeld

from Gigler and noted that unlike ORS§ 161.205, ORS §§ 161.235 and 161.245 "are not limited

on their face to criminal prosecutions." Id. Based on the court's statement in Haifzeld that "under

Oregon law the existence of a statutory defense to a criminal prosecution does not generally

establish a defense to civil liability," the Evans court held that ORS § 161.205 does not provide a

defense to a civil-assault claim. Id. at *10.

        The above cases make clear that where a statute is limited to avoiding criminal prosecution

on its face, the court cannot assume it applies to civil claims. Defendants argue Gigler proves that

the statutes in ORS Chapter 161 et seq. are not limited to criminal liability. (Defs.' Resp. at 15.)

Defendants are correct insofar as the statutes cited by the Gigler court are not limited to criminal

liability on their face. OR. REV. STAT.§§ 161.235, 161.245. However, Defendants do not plead

these statutes in their sixth affirmative defense; Defendants cite ORS§§ 161.205(5), 161.209, and

161.219(3). (Am. Answer at 17.) Whether the entirety of ORS Chapter 161 relates only to


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criminal liability is inapposite: the question is whether the justification statutes Defendants cite in

their affirmative defense -     ORS §§ 161.205(5), 161.209, and 161.219(3) -              apply only to

criminal liability. The Evans court's reading of Hatfield and Gigler resolves this issue by holding

that where a statute on its face applies to avoiding criminal prosecution, it does not generally apply

to civil claims. ORS § 161.205 on its face applies to avoiding criminal prosecution, so it does not

apply to Plaintiffs' civil claims here.

        The other statutes Defendants cite, ORS§§ 161.209 and 161.219, are not explicitly limited

to avoiding criminal prosecution, OR. REV. STAT. §§ 161.209, 161.219, but these sections are

nevertheless redundant of Defendants' ninth and tenth affirmative defenses of self-defense and

defense of others. In fact, Defendants even cite ORS§ 161.209 in support of their ninth and tenth

affirmative defenses. (Defs.' Resp. at 18.)

        Accordingly, Plaintiffs' Motion to Strike the Sixth Affirmative Defense is GRANTED.

        B. Privilege (Seventh Affirmative Defense)

        Plaintiffs argue Defendants' affirmative defense of privilege is redundant of Defendants'

second, third, fourth, fifth, and sixth affirmative defenses. (Mot. to Strike at 9.) Defendants argue

Gigler makes clear that privilege avoids liability for a civil battery claim. (Defs.' Resp. at 16-17.)

Defendants do not provide any statutory basis for their privilege defense.

        When an officer uses no more force than necessary to accomplish the legitimate purpose

of fulfilling their duty, that force is reasonable and that officer is not liable for battery. Gigler, 21

Or. App. at 763 ("the physical violence exerted by the officers against plaintiff was no more than

necessary to accomplish the legitimate purpose of fulfilling their duty. Therefore, it was justified,

as a matter oflaw .... ") (citing ORS §§ 161.235, 161.245, 162.315); see also Evans, 2009 WL


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1011580, at* 10 (citing Gigler, 21 Or. App. at 763). Defendants argue this makes clear that police

officers in Oregon are "privileged" to use such force. (Defs.' Resp. at 16.)

        This defense is redundant of Defendants' fifth affirmative defense of common law

justification. Gigler, cited by Defendants, does not reference "privilege"; instead, Gigler uses the

language that force was 'Justified" and cites ORS§§ 161.235, 161.245, 162.315. Gigler, 21 Or.

App. at 763. Discussing Gigler, the court in Evans only stated "the force was reasonable and the

officers did not commit assault or battery." Evans, 2009 WL 1011580, at *10. Thus, if Gigler

provides any defense apart from those available in the Oregon statutes the court cites (but that

Defendants do not rely on or cite as the basis of their privilege defense), Gigler stands for a

common law justification defense presumably no different from the common law justification

defense referenced without discussion by the court in Humbird- upon which Defendants rely for

their fifth affirmative defense of common law justification. If that be the case, then this seventh

affirmative defense of privilege is redundant of the fifth affirmative defense of common law

justification.

        Accordingly, Plaintiffs' Motion to Strike the Seventh Affomative Defense is GRANTED.

        C. Good Faith (Eighth Affirmative Defense)

        Defendants assert that "any use of control or force by Officer Hearst or any of the City's

other police officers was done in good faith." (Am. Answer at 18.) Plaintiffs argue this good faith

affirmative defense is redundant of Defendants' second, fifth, sixth, and seventh affirmative

defenses. (Mot. to Strike at 1O; Pls.' Reply at 5.) Defendants argue that good faith is not redundant

of qualified immunity because qualified immunity requires an objective test that focuses on

conduct rather than thoughts. (Defs.' Resp. at 10.) Seemingly in the alternative, Defendants argue


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that even if this good faith defense is redundant of the qualified immunity defense, qualified

immunity only applies to Plaintiffs' federal claims, whereas this good faith defense also applies to

Plaintiffs' state law claims. (Defs.' Resp. at 17.) Plaintiffs read Defendants' response to concede

that the good faith defense does not apply to Plaintiffs' federal claim. (Pls.' Reply at 5.)

        1. Good Faith Defense to Federal Claims

       While reasonableness is an objective inquiry under the qualified immunity analysis for

Fourth Amendment excessive force claims specifically, qualified immunity on the whole applies

only to actions taken in good faith. "The doctrine of qualified immunity insulates government

agents against personal liability for money damages for actions taken in good faith pursuant to

their discretionary authority. More specifically, 'governmental officials ... generally are shielded

from liability for civil damages insofar as their conduct does not violate clearly established

statutory or constitutional rights of which a reasonable person would have known."' Deorle, 272

F.3d at 1285 (quoting Harlow v. Fitzgerald, 457 U.S. 800, 807 (1982) (citations omitted).

       As it applies to Plaintiffs' federal claims, this good faith affomative defense is redundant

of Defendants' second affirmative defense of qualified immunity. Defendants will argue under

their qualified immunity defense that the officers' actions were taken in good faith; a separate good

faith defense is needlessly repetitious.

       Therefore, Plaintiffs' Motion to Strike the Eighth Affirmative Defense as it applies to

Plaintiffs' federal claims is GRANTED.




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        2. Good Faith Defense to State Law Claims

        Defendants argue this good faith defense applies to Plaintiffs' state law claims. (Defs.'

Resp. at 17.) Plaintiffs argue that this defense is redundant of Defendants' fifth, sixth, and seventh

affirmative defenses of justification and privilege.

        "[A] police officer is justified under Oregon law in using physical force when he or she

believes it is reasonably necessary to make an arrest, ... and a police officer is presumed to be

acting in good faith in determining the amount of force necessary to make the al.Test." Ballard v.

Oty of Albany, 221 Or. App. 630, 641 (2008) (citing Gigler, 21 Or. App. at 763; Rich v. Cooper,

234 Or. 300, 309 (1963)). This means in Oregon a police officer is entitled to an evidentiary

presumption and jury instruction explaining that a police officer acts in good faith in determining

the amount of force to be used in making an arrest. Rich, 234 Or. at 311.

        As it relates to Plaintiffs' state law claims, this seventh affirmative defense is not redundant

of any other affirmative defenses. This defense seeks to secure a presumption and jury instruction

in favor of Defendants, unlike Defendants' justification and privilege affirmative defenses, which

seek to avoid liability on Plaintiffs' civil claims without reference to any presumption or

instruction.

       Therefore, Plaintiffs' Motion to Strike the Eighth Affirmative Defense as it applies to

Plaintiffs' state law claims is DENIED.

       D. Self-Defense and Defense of Others (Ninth and Tenth Affirmative Defenses)

        Defendants assert that Officer Hearst was justified and privileged to use lethal force to

protect himself and other persons from a reasonable belief of an immediate threat of death or

serious bodily injury from Quanice Hayes. (Am. Answer at 18.) Plaintiffs argue these affirmative


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defenses of self-defense and defense of others are negative defenses that go to the reasonableness

inquiry in Plaintiffs' case-in-chief and are redundant of Defendants' affirmative defenses of

qualified immunity, objective reasonableness, justification, and privilege. (Mot. to Strike at 10-

11.) Defendants argue that Plaintiffs' argument incorrectly assumes Plaintiffs' burden to show

Hearst acted unreasonably is the same burden as proving Hearst was not acting in self-defense or

defense of others. (Defs.' Resp. at 18.) Further, Defendants argue that in Oregon, self-defense

and defense of others are clearly established affirmative defenses to state law battery claims.

(Defs.' Resp. at 18.)

       1. Self-Defense and Defense of Others Defense to Federal Claims

       As to Plaintiffs' federal claims, Defendants offer no more than that Plaintiffs' burdens will

not be identical for proving unreasonableness and for proving that Hearst did not act in self-defense

or defense of others. Plaintiffs' burden for proving unreasonableness is clear from the Fourth

Amendment discussion above. However, Plaintiffs' burden for proving Hearst did not act in self-

defense or defense of others is unclear because Defendants offer no case law or statutory support

for these defenses when it comes to Plaintiffs' federal claims. Plaintiffs cite a footnote in

Quintanilla v. City of Dovvney, 84 F.3d 353 (9th Cir. 1996), that references self-defense, without

discussion.   Quintanilla, 84 F.3d at n.1.    In that case, the plaintiff argued the district court

erroneously refused to instruct the jury on self-defense in a suit for excessive force. Id. In the

footnote Plaintiffs cite, the court summarily "dispose[d] of this contention because it has no basis

in the law, and is therefore without merit." Id.      Without more, however, Quintanilla is not

conclusive as to whether self-defense is ever a proper affirmative defense in excessive force cases.




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          Defendants assert in their ninth and tenth affirmative defenses that Officer Hearst was

justified and privileged to use lethal force to protect himself and other persons from "a reasonable

belief of an immediate threat of death or serious bodily injury from Quanice Hayes." (Arn. Answer

at 18.)     Plaintiffs are correct that these defenses incorporate concepts of "reasonableness,"

"justification," and "privilege." (Pls.' Reply at 6.) However, a matter is redundant if it is

superfluous and can be omitted without a loss of meaning. At this stage, it is not clear without

more from both parties whether these defenses to Plaintiffs' federal claims are redundant of

qualified immunity and objective reasonableness. Similarly, it is not clear whether these defenses

are negative defenses. Because motions to strike are generally disfavored, Defendants may plead

these ninth and tenth affirmative defenses against Plaintiffs' federal claims.

          Accordingly, Plaintiffs' Motion to Strike the Ninth and Tenth Affirmative Defenses as they

apply to Plaintiffs' federal claims is DENIED.

          2. Self-Defense and Defense of Others Defense to State Law Claims

          As to Plaintiffs' state law claims, self-defense and defense of others are proper affirmative

defenses to battery claims in Oregon. Defendants in assault and battery cases may plead self-

defense as an affirmative defense. See Politte v. Vanderzee, 256 Or. 461, 463 (1970); Rich, 234

Or. at 305; Linkhart v. Savely, 190 Or. 484,496 (1951). Further, ORS§ 161.209 provides that "a

person is justified in using physical force upon another person for self-defense or to defend a third

person from what the person reasonably believes to be the use or imminent use of unlawful

physical force, and the person may use a degree of force which the person reasonably believes to

be necessary for the purpose." OR. REV. STAT. § 161.209. Thus, the law is clear in Oregon that

self-defense and defense of others may be pleaded as affirmative defenses to battery claims.


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        In light of the above, Plaintiffs' Motion to Strike the Ninth and Tenth Affirmative Defenses

as they apply to Plaintiffs' state law claims is DENIED.

V.      Comparative Fault (Eleventh and Thirteenth Affirmative Defenses)

        Plaintiffs include the following allegations against the City for negligence in their

Amended Complaint:

            39. The City of Portland's failure to enforce policies on its police officers to use
     apprehension procedures that give clear, uncontradicted instructions to those they want
     to arrest creates a foreseeable risk of serious harm to the individuals they choose to arrest.

           40. The City of Portland's failure to enforce policies on its police officers to
     develop and execute plans for taking a suspect into custody that will minimize the risk
     of harm to both the suspect and the officers is unreasonable.

            41. The City of Portland's failure to hold officers accountable for violating or
     acting inconsistent with directives, policies, and/or training is unreasonable.

            42. These failures to effectively train, or failure to ensure that training is followed,
     creates an obvious risk of death to citizens who are attempting to follow police officer
     commands and is unreasonable.

            43. These failures were a cause of Quanice Hayes' death.

            44. Andrew Hearst's failure to listen and recognize that officers were giving
     contradictory commands to Quanice Hayes, and that Hayes was complying with one of
     the officers, while Hearst had an assault rifle pointed at Hayes' head created a foreseeable
     risk of serious harm to Quanice Hayes.

           45. The officers' failure to develop and execute a plan to minimize the risk to the
     suspect and officers to take the suspect into custody created a foreseeable risk of serious
     harm to Quanice Hayes.

            46. This failure to exercise reasonable care in creating a custody plan, in listening
     to the commands being shouted at Quanice Hayes, and in observing that Hayes was
     complying with one officer's commands, created an obvious risk of death to Quanice
     Hayes and was unreasonable.

            47. This failure was a cause of Quanice Hayes' death.



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(First Am. Compl. at   ,r,r 39-47.)   Defendants assert that "City Defendants are not at fault in the

action pled by Plaintiffs because the death of Quanice Hayes was the sole and exclusive fault of

Mr. Hayes." (Am. Answer at 18-19.) Defendants list seventeen allegations of Quanice Hayes's

conduct they consider criminal, reckless and negligent:

           (a) Possessing, displaying and using a realistic-looking, replica 9mm CZ P-09
    handgun after being explicitly warned by Portland police officers in November 2016
    about the dangers of possessing, displaying or using replica firearms.

         (b) Possessing, displaying and using a realistic-looking, replica 9mm CZ P-09
    handgun in a manner to cause public alarm;

           (c) Robbing a community member by displaying and using a realistic-looking,
    replica 9mm CZ P-09 handgun to threaten death or serious bodily injury;

         (d) Breaking into an automobile and stealing personal property from the
    automobile, causing alarm to the owner of the automobile;

          (e) Trespassing into a residential backyard at 8322 NE Tillamook Street, causing
    alarm to the occupants of the residence, including two children;

          (f) Lying to uniformed police officers about his presence at the residence where
    he was trespassing and causing alarm;

          (g) Failing to obey the lawful commands of uniformed police officers by running
    away from those officers;

          (h) Failing to obey the lawful commands of uniformed police officers by running
    away from those officers while intentionally continuing to retain and possess a realistic-
    looking, replica 9mm CZ P-09 handgun;

            (i)    Trespassing into a second residential backyard at 8301 NE Hancock Street;

          (k) Destroying the residential home's alarm system to conceal his presence inside
    the home he was burglarizing;

            (1) Stealing personal property, including foreign currency, from the burglarized
    home;

           (rn) Failing to discard the realistic-looking, replica 9mm CZ P-09 handgun prior
    to the confrontation with the police officers on the driveway of 8301 NE Hancock Street;

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            (n) Failing to explain to any police officer, either while confronted by police
     officers at 8322 NE Tillamook Street, or at 8301 NE Hancock Street, that the weapon he
     was possessing was only a realistic-looking, replica 9mm CZ P-09 handgun, and not an
     actual firearm;

           (o) Failing to obey the lawful commands of uniformed police officers to keep his
     hands away from his waist band, both at 8322 NE Tillamook Street, and at 8301 NE
     Hancock Street;

            (p) Consuming or abusing several substances, including illegal ones such as
     cocaine, in the hours before the criminal, reckless and negligent conduct described above
     in paragraph 63(b)-(o), that affected Mr. Hayes' judgment and decision-making; and

          (q) Failing to sleep properly after consuming or abusing several substances,
    including illegal ones such as cocaine, in the hours before the criminal, reckless and
    negligent conduct described above in paragraph 63(b)-(o), that affected Mr. Hayes'
    judgment and decision-making.

(Am. Answer at ,r,r 63(a)-(q).) Plaintiffs move to strike these eleventh and thirteenth affirmative

defenses and argue that ORS § 31.600 does not apply to Plaintiffs' § 1983 claims or state law

intentional tort claim. (Mot. to Strike at 13.) Plaintiffs further contend that Plaintiffs' conduct

fails to meet the standard for comparative fault given the nature of the negligence Plaintiffs allege

against the City. (Mot. to Strike at 15.) Defendants clarify in their response that their comparative

fault defenses are not directed at any of Plaintiffs' federal claims or Plaintiffs' battery claim; rather,

they are directed only at Plaintiffs' negligence claim against the City. (Defs.' Resp. at 19, 24.)

Therefore, the issue remaining is whether this court should strike Defendants' comparative fault

affirmative defenses as applied to Plaintiffs' negligence claim against the City.

        Plaintiffs argue these comparative fault defenses are legally insufficient, immaterial,

impertinent, and scandalous. (Pls.' Reply at 12). Plaintiffs argue that both comparative fault

defenses fail because "the plaintiffs alleged negligence must have been an element in the

transaction on which the defendant's negligence is based," and neither Quanice Hayes nor Venus

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Hayes's conduct meets that standard. (Mot. to Strike at 15.) Further, Plaintiffs argue that Quanice

Hayes was not engaged in the conduct Defendants describe at the time Hearst shot him, nor at the

time the City failed to adequately train and hold its officers accountable. (Mot. to Strike at 18.)

Therefore, Plaintiffs argue that Defendants' comparative fault defense amounts to "character

assassination" of Quanice Hayes and his mother. (Mot. to Strike at 18.) Defendants argue the

City is allowed to show Quanice Hayes engaged in reckless or negligent behavior that increased

the risk of him being shot by the police. (Defs.' Resp. at 19-20.) Defendants also contend the

City is not limited to the seconds in time before Hearst shot Quanice Hayes, nor is the City limited

to facts known only to Hearst. (Defs.' Resp. at 21.) Further, Defendants argue that foreseeability

and causation are typically jury questions. (Defs.' Resp. at 21-22.)

       A. Comparative Fault- Quanice Hayes (Eleventh Affirmative Defense)

       The comparative fault affirmative defense in Oregon allows the jury to compare the fault

of the plaintiff with the fault of the defendant, and any damages allowed in such case are

diminished in proportion to the percentage of fault attributable to the plaintiff. OR. REV.   STAT.   §

31.600 (2019). Whether a plaintiff's conduct constitutes comparative fault will tum on whether

the harm was foreseeable, how the class of harm is defined, and whether plaintiff's conduct relates

and contributes to the defendant's negligence. The test in Oregon for comparative fault is whether

the plaintiff "took some action or failed to take some action which a reasonable person could have

foreseen would increase the risk of harm to the plaintiff, and that the plaintiff did indeed suffer

harm of the type which could have been foreseen." Son v. Ashland Cmty. Healthcare Servs., 239

Or. App. 495,507 (2010) (citing Dahl v. BMW, 304 Or. 558,563 (1987) (internal quotation marks

omitted)). General common-law negligence principles apply, only they must be considered in the


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context of the plaintiffs conduct and plaintiff's injury. Son, 239 Or. App. at 507 (citing Dahl, 304

Or. at 563).

       Conduct that unreasonably creates a foreseeable risk of the type of harm that befell the

plaintiff constitutes comparative fault. Fazzolari By and Through Fazzolari v. Portland School

Dist. No. IJ, 303 Or. 1, 18 (1987). "Foreseeability refers to generalized risks of the type of

incidents and injuries that occurred rather than the predictability of the actual sequence of events,"

Fazzolari, 303 Or. at 21, and involves a prospective judgment about a course of events, Chapman

v. Mayfield, 358 Or. 196, 206(2015). The risk of harm need not be more probable than not; rather,

the question is whether a reasonable person considering the potential harms that might result from

his or her conduct would have reasonably expected the injury to occur. Id. Further, foreseeability

does not encompass all sources of injury in a dangerous world, nor does it demand precise

mechanical imagination or paranoid view of the universe. Fazzolari, 303 Or. at 21. Though

foreseeability often goes to the jury, the question of foreseeability is properly kept from the jury

where a plaintiff's injury and the manner of its occurrence are so highly unusual that the court can

say that as a matter of law a reasonable actor would not have reasonably expected the injury to

occur. Piazza v. Kellim, 360 Or. 58, 74 (2016) (en bane).

        Oregon courts place limits on what consequences are foreseeable. For example, in Moore,

a personal representative sued two taverns for negligence after the taverns served visibly

intoxicated patrons who thereafter shot a taxi driver. Chapman, 358 Or. at 212 (discussing Jvfoore

v. Willis, 307 Or. 254, 256-58 (1988)). The Oregon Supreme Court held that where a complaint

did not allege any facts connecting overconsumption of alcohol to violence, the mere fact that a

patron is visibly intoxicated does not make it foreseeable that serving the patron alcohol creates an


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unreasonable risk that the patron will become violent. Id. at 212-13 (discussing ~Moore, 307 Or.

at 256-61). Another example is negligence cases involving third-party criminal activity, where a

plaintiff must allege concrete facts demonstrating that a reasonable person in the defendant's

position would have foreseen that the person or location and circumstances posed a risk of criminal

harm to persons such as the plaintiff. Piazza, 360 Or. at 81. In such cases, evidence of generic

fact that criminals commit crimes is insufficient to establish foreseeability. Id. at 86 (discussing

Buchler v. State By and Through Oregon Corrections Div., 316 Or. 499, 511 (1993)).

       Next, whether a particular harm is foreseeable turns in large part on how the class of harm

is characterized in a given case. Stewart v. Jefferson Plywood Co., 255 Or. 603, 610 (1970). The

definition of the class of harm must be somewhere between "very generalized" and a "detailed,

mechanism-of-harm description." Id. at 610 (citing KEETON, LEGAL CAUSE IN THE LAW OF TORTS

51 (1963)). But "even though the precise mechanism of harm need not be foreseeable," the type

of harm that a plaintiff risks as a foreseeable consequence of his own conduct in a comparative

fault case must be described "with reference to the particular factual circumstances of the case, as

gleaned from the pleadings and evidence in the record." See Chapman, 358 Or. at 220.

       The Oregon Supreme Court decision Stewart v. Jefferson Plywood Co. is illustrative of the

principles of foreseeability and defining the class of harm based on the plaintiff's theory of

liability. Jefferson Plywood Co., 255 Or. 603. There, the defendant caused a fire and the plaintiff

fell through a concealed skylight while trying to protect a nearby building from the flames. Id. at

605. Foreseeable risks were not limited to being burned by the fire, but also included physical

injury from falling off a ladder or through the roof. Chapman, 358 Or. at 207 (discussing Jefferson

Plywood Co., 255 Or. at 610). The court acknowledged that while falling through a concealed


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skylight "might not be a common cause of injury, that circumstance was not so uncommon that

the defendant could not reasonably foresee the risk of harm." Id. at 207 (discussing Jefferson

Plywood Co., 255 Or. at 610). In defining the class of harm, the court "assesse[d] the overall

'setting for possible injury' under the plaintiffs theory of liability." Id. at 208 (quoting Jefferson

Plywood Co., 255 Or. at 610). In that case, under the plaintiffs theory of liability, the class of

harm was defined as possible injuries in the course of fighting a fire. Id. (quoting Jefferson

Plywood Co., 255 Or. at 611).

       Finally, a plaintiffs negligent conduct can form the basis of a comparative fault defense

when it relates and contributes to the defendant's negligence at issue. Gardner v. Oregon Health

Sciences University, 299 Or. App. 280, 290 (2019) (citing Son, 239 Or. App. at 512). Stated

another way, a plaintiffs negligence must be an element in the transaction on which the

defendant's negligence is based, see Son, 239 Or. App. at 509, or affect the event for which

recovery is sought. Mills v. Bravvn, 303 Or. 223,229 (1987) (quoting Sandfordv. Chev. Div. Gen.

lvfotors, 292 Or. 590, 606 (1982)). For example, in medical malpractice cases, the focus is on the

injury caused by the defendant's negligence, not the plaintiffs original injury. Son, 239 Or. App.

at 508-509. In such cases, a comparative fault defense requires that the "plaintiffs negligent

conduct relate and contribute to the negligent treatment, because it is the negligence treatment that

causes the injury that is at issue. Id. at 509. In a negligence action arising from the decedent's

suicide, facts constituting a viable comparative fault defense included decedent providing

incomplete or inaccurate information to the provider, withholding information from the provider,

and in other ways declining, refusing, or failing to heed the provider's advice or treatment plan.

Gardner, 299 Or. App. at 291. Conversely, the court noted that facts that did not relate and


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contribute to the harm caused by the defendant's negligence, but instead related to the conduct that

created the initial need for treatment, could not have constituted a comparative fault defense. Id

at 291-92.

       Defendants' allegations in paragraph 63(a)-(l) and 63(q) are insufficient to constitute a

comparative fault defense. Plaintiffs allege the City failed to enforce its policies on its police

officers (paragraphs 39 and 40), failed to hold officers accountable (paragraph 41), and failed to

train its police officers (paragraph 42), and these failures were a cause of Quanice Hayes's death

(paragraph 43). (First Am. Compl. at      ,r,r 39--43.)   These allegations relate to the City's failures

prior to and independent of the specific interaction with Quanice Hayes. Plaintiffs additionally

allege Hearst failed to listen to and recognize officers were giving conflicting commands

(paragraph 44), and the officers failed to develop and execute a plan to minimize the risk to the

suspect and officers to take the suspect into custody (paragraph 45), and this failure to exercise

reasonable care in creating a custody plan, in listening to the commands being shouted at Quanice

Hayes, and in observing that Hayes was complying with one officer's commands, created an

obvious risk of death to Quanice Hayes and was unreasonable (paragraph 46), and this failure was

a cause of Quanice Hayes's death (paragraph 47). (First Am. Compl. at ,r,r 44--47.) This second

set of allegations relates to events at the scene.

       Plaintiffs' conduct must relate and contribute to the City's negligence. Allegations of

Plaintiffs' comparative fault that do not relate or contribute to the City's various failures prior to

and independent of the events involving Quanice Hayes, including those at the scene on the

driveway of 8301 NE Hancock Street, are insufficient. The allegations in paragraph 63(a)-(l) and




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63(q) of Defendants' Amended Answer neither relate or contribute to the City's existing failures

nor the City's actions at the scene.

        The allegations in paragraph 63(a)-(l) and 63(q) of Defendants' Amended Answer also fail

on the element of foreseeability. "Foreseeability refers to generalized risks of the type of incidents

and injuries that occurred rather than the predictability of the actual sequence of events." Fazzolari,

303 Or. at 21. A fair characterization of the type of harm allegedly risked by Hayes's actions in

this case is getting shot by a police officer. So characterized, if the allegations in paragraph 63(a)-

(l) and 63(q) made it reasonably foreseeable to Quanice Hayes that, among other things, stealing

property and failing to get enough sleep risked the type of hatm at issue -      getting shot -   then

anyone who commits theft or burglary should reasonably expect not to be arrested, but to be shot.

As Plaintiffs state: that is not the law.

        Moreover, with respect to the first set of Plaintiffs' allegations, Quanice Hayes's actions

could not foreseeably have had any effect on the City's failures, namely, in training of its officers,

failing to hold officers accountable, failing to enforce policies. Whether such failures "manifested

themselves through actions or omissions of the officers confronting Mr. Hayes at the time of his

death" (Defs.' Resp. at 20) does not change that such failures were not foreseeable consequences

of Quanice Hayes's actions-logically, Quanice Hayes's actions occurred after the City's failures

in the first set of allegations, however manifested at a later date. Therefore, Defendants still cannot

support a comparative fault defense with the facts alleged.         Lastly, though the question of

foreseeability generally goes to the jury, Hayes's injury in this case and the manner of its

occurrence - the allegations in paragraph 63(a)-(l) and 63(q) -       are "so highly unusual that the

court can say that as a matter of law a reasonable actor would not have reasonably expected the


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injury to occur." Pfrtzza, 360 Or. at 74. Here, the allegations in paragraph 63(a)-(l) and 63(q) are

immaterial and impertinent.

       Differently, it is appropriate for Defendants to plead allegations in paragraph (m)-(p) in

support of their comparative fault affirmative defense.        Quanice Hayes' s actions alleged in

paragraph (m)-(p) - failing to discard the replica handgun prior to the confrontation with police,

failing to explain to the officers that the handgun was a replica, failing to keep his hands away

from his waistband, and consuming illegal substances -         are contemporaneous with the City's

negligence at the scene as alleged by Plaintiffs in paragraphs 44-47 of Plaintiffs' FAC. Thus,

under the setting for possible injury based on Plaintiffs' theory of liability, it is possible that the

conduct alleged in paragraph 63(m)-(p) related or contributed to the City's negligence at the scene

where Hearst shot Quanice Hayes, and the question of foreseeability is properly left to the jury.

First, Defendants may argue Hayes's conduct as alleged in paragraph 63(m)-(p) affected the event

for which Plaintiffs seek recovery: such allegations do not relate to the necessity of initial police

intervention, but rather relate to the City's alleged negligence once all parties arrived at the scene.

Further, a jury may determine whether a reasonable person considering the potential harms that

might result from Hayes's actions in paragraph 63(m)-(p) would have reasonably expected to be

shot by a police officer as a consequence of those actions; unlike the allegations in paragraph

63(a)-(1) and 63(q), the allegations in paragraph (m)-(p) are not so highly unusual as a manner of

occurrence of Hayes's injury that the court may say the injury was not foreseeable as a matter of

law.




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       Accordingly, Plaintiffs' Motion to Strike the Eleventh Affirmative Defense is GRANTED

as to the allegations in paragraph 63(a)-(l) and 63(q) and DENIED as to the allegations in

paragraph 63(m)-(p).

       B. Comparative Fault- Venus Hayes (I'hirteenth Affirmative Defense)

       Defendants argue that City Defendants are not at fault in the action pled by Plaintiffs

because the death of Quanice Hayes was caused in part by the negligence of his mother, Venus

Hayes. (Am. Answer at if 68.) First, Defendants argue that "[p]arents have legal responsibilities

for their minor children." (Defs.' Resp. at 24.) Second, Defendants argue that under ORS §

30.765(1), a parent is liable for actual damages caused by any tort intentionally or recklessly

committed by their child.     (Defs.' Resp. at 24.)    Third, Defendants argue parents who are

beneficiaries of their child's estate may be sued for comparative fault relating to the death of a

child. (Defs.' Resp. at 24.) Plaintiffs argue that Venus Hayes was in treatment when her son was

killed, which means she cannot be at fault for her son's death, nor was his death foreseeable. (Mot.

to Strike at 18.) Further, Plaintiffs argue that Defendants' lack support for any of their arguments.

(Pls.' Reply at 11-12.)

       On March 5, 2020, after oral arguments, Defendants withdrew this thirteenth affirmative

defense. Although Defendants voluntarily withdrew this affirmative defense, Plaintiffs' position

is that such an affirmative defense is not viable under Rule 12(f), and this court agrees.

       Therefore, Defendants may not re-raise this affirmative defense, and Plaintiffs' motion to

strike the Thirteenth Affirmative Defense is GRANTED for that purpose.




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VI.    Certain Felonious Conduct (Twelfth Affirmative Defense)

       Defendants assert that "Plaintiffs' state law claims are barred by ORS 31.180, as Mr.

Hayes' felonious conduct described above ... was a substantial factor contributing to his death."

(Am. Answer at 20.) Plaintiffs argue that Quanice Hayes was not involved in any felonious

conduct at the time Hearst shot him, and thus urge the court to strike this defense. (Mot. to Strike

at 19.) Defendants disagree and contend that Quanice Hayes' s felonious conduct Defendants

describe was ongoing, and his conduct created and maintained the risk of injury to him. (Defs.'

Resp. at 26.)

       In Oregon, it is a complete defense in any civil action for personal injury or wrongful death

that the person damaged engaged in conduct at the time that would constitute a Class A or Class

B felony, where the felonious conduct was a substantial factor contributing to the death or injury.

OR. REV. STAT.§ 31.180 (2019). "[T]he requirement that the injured person was engaged in

[criminal] conduct at the time means that, to rely on the defense, the defendant must show that the

offense was ongoing at the time that the injuries were inflicted." Hanyman v. Fred Jvfeyer, Inc.,

289 Or. App. 324, 328 (2017).

       A burglary is not "ongoing" when officers pursue the burglary suspect. In Estate ofKalama

v. Jefferson Cty., No. 3:12-cv-01766-SU, 2015 WL 464891 (D. Or. Feb. 4, 2015), a county

sheriffs office received a report of an armed burglary at a stereo store. Id. at *3. A sheriffs

deputy pulled over a car matching the description of the suspect vehicle and number of occupants.

Id. The deputy ordered the car's occupants to put their hands on the ceiling. Id. As the deputy

then approached the car, the driver drove away from the traffic stop. Id. After the car fled, the

deputy immediately pursued the car down the highway. Id. at *4. Soon after, the car struck a


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guardrail and collided with an oncoming police car. Id. Four occupants died as a result, and one

survived but suffered permanent mental and physical injury. Id Representatives of the occupants

brought state negligence claims. Id. The defendants argued that the negligence claim was barred

by ORS § 31.180 because there was sufficient evidence to find that the occupants of the car

committed the armed burglary that prompted the deputy to pull them over. Id. at *2. The court

disagreed, however, and stated, "even if the evidence in the record were sufficient to establish on

summary judgment that the Occupants of the car committed the armed burglary, Defendants have

pointed to no authority or evidence that the armed burglary was ongoing at the time that the

Occupants fled :from a traffic stop." Id.

       By contrast, when a plaintiff commits a felony as part of an altercation that is ongoing at

the time of the plaintiffs injury, a defense under ORS § 31.180 is proper. In Harryman, the

plaintiff was waiting in the checkout line at the defendant's store when the plaintiff and another

person ahead of him in line engaged in an argument that escalated to a physical fight. Harryman,

289 Or. App. at 326. Plaintiff had a handgun and shot that person in the leg. Id. In response, the

defendant's employees pushed the plaintiff to the floor to disarm him. Id. As a result of the

shooting, the plaintiff was convicted to assault in the second degree with a firearm, a Class B

felony in Oregon. Id. Plaintiff subsequently sued the defendant seeking damages for injuries he

claims to have sustained when the defendant's employees pushed him to the floor. Id. at 327. The

defendant argued the plaintiffs claim was barred by ORS § 31.180, id., but the plaintiff responded

that the defense was not available because, at the time of his injury, the plaintiffs conduct

constituting the felony was not ongoing, id. at 328. The court held that at the time the defendant's

employees knocked the plaintiff down, the plaintiff had just shot the other person and was still


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armed, and there was no evidence that the altercation had ended. Id. at 329. Thus, as a matter of

law, the plaintiffs injuries occurred "at the time" that the plaintiff committed the felony. Id.

       Here, Quanice Hayes' s conduct, if felonious, was not ongoing at the time Hearst shot him.

Unlike in Harryman, Quanice Hayes had surrendered by the time Hearst shot him. (First Am.

Compl. at 12 ,r 19) ("He obeyed the commands of Officer Robert Wullbrandt, and crawled on his

hands and knees as ordered, coming to a stop when ordered to do so.") The offense of burglary in

the first degree supports this conclusion. In Oregon, "[a] person commits the crime of burglary in

the first degree ... if in effecting entry or while in a building or in immediate flight therefrom the

person: (a) Is armed with a burglary tool or theft device ... or a deadly weapon; (b) Causes or

attempts to cause physical injury to any person; or (c) Uses or threatens to use a dangerous

weapon." OR. REV. STAT.§ 164.225. By the time Hayes was shot, he was not in immediate flight,

as he was on his hands and knees complying with an officer's commands. (First Am. Compl. at

12 ,r 19.) As the felony itself does not include actions taken after immediate flight from a building,

and because Hayes was no longer in immediate flight, but surrendering, obeying an officer's

commands, any felonious conduct was not ongoing. Without ongoing felonious conduct, under

ORS § 31.180, this defense is legally insufficient.

       Therefore, Plaintiffs' Motion to Strike the Twelfth Affirmative Defense is GRANTED.

VII.   Right to Assert Additional Affirmative Defenses (Sixteenth Affirmative Defense)

       Defendants concede this is not an affirmative defense. Therefore, Plaintiffs' Motion to

Strike the Sixteenth Affirmative Defense is GRANTED.




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                                             Conclusion

       For the foregoing reasons, Plaintiffs' Motion to Strike (ECF No. 76) is GRANTED IN

PART and DENIED IN PART as follows: Plaintiffs' Motion is granted as to Defendants' third,

fourth, sixth, seventh, twelfth, thirteenth, and sixteenth affirmative defenses in their entirety, as to

Defendants' eighth affirmative defense as it applies to Plaintiffs' federal claims, and as to the

allegations in paragraph 63(a)-(l) and paragraph 63(q) of Defendants' eleventh affirmative

defense, and they shall be stricken; Plaintiffs' Motion is denied as to Defendants' fifth, ninth, and

tenth affirmative defenses in their entirety, as to Defendants' eighth affirmative defense as it

applies to Plaintiffs' state law claims, and as to the allegations in paragraph 63(m)-(p) of

Defendants' eleventh affirmative defense.

       IT IS SO ORDERED.

        DATED this


                                                               JOHNV. ACOSTA
                                                         UniteclBtates Magistrate Judge




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